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                                                      December 14, 2021

VIA ECF

The Hon. Laura Taylor Swain                         MEMO ENDORSED
United States District Court
Southern District of New York
500 Pearl Street, Room 17C
New York, New York 10007-1312

               Re: Advanced Analytics, Inc. v. Citigroup Global Markets, Case No. 04 Civ.
                   3531 (LTS)(SLC)

Dear Chief Judge Swain:

                I write on behalf of defendants Citigroup Global Markets, Inc. and The Yield
Book Inc. (“Defendants”) related to the Court’s Order of November 23, 2021 (ECF No. 466, the
“Fees and Costs Order”). Absent an appeal by Advanced Analytics, Inc. (“Plaintiff”), the Fees
and Costs Order sets a schedule whereby Defendants are required to submit “a declaration setting
forth the fees and costs to which they claim entitlement pursuant to that Order” (the “Fees and
Costs Declaration”) by December 20, 2021. Id. at 1.

              As Your Honor knows, Plaintiff has filed a Motion for Reconsideration and Relief
from Judgment on December 3, 2021 (ECF No. 467, the “Reconsideration and Relief Motion”),
which operates to extend Plaintiff’s time to file an appeal under the Federal Rules of Appellate
Procedure. See Fed. R. App. P. 4(A)(iv). Defendants anticipate timely filing a response.

                 Although not enumerated by the Fees and Costs Order, Defendants submit that
the purpose of the Court’s existing deadline would be served by modifying the deadline for
Defendants’ submission of the Fees and Costs Declaration to forty-five days from the later of
(i) the resolution of the Reconsideration and Relief Motion or (ii) the issuance of a mandate from
the United States Court of Appeals for the Second Circuit, in the event Plaintiff pursues an
appeal from the entry of judgment in the above-captioned action. Defendants sought Plaintiff’s
position with respect to the requested modification on December 10 and December 13, 2021. As
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of the date of this Letter, Plaintiff has not provided its position. Although, as Your Honor
knows, the Court previously revised and clarified the deadline for the submission of the Fees and
Costs Declaration (as set forth in the Fees and Costs Order and after an inquiry to Chambers),
this is Defendants’ first request for an extension of the deadline for submission of the Fees and
Costs Declaration.

                                                 Respectfully submitted,

                                                 /s/ Jennifer Kennedy Park

                                                 Jennifer Kennedy Park


cc: All counsel of record (via ECF)


The requested extension is granted. DE#468 resolved.

SO ORDERED.
Dated: December 15, 2021
/s/ Laura Taylor Swain, Chief U.S.D.J.
